












Dismissed and Memorandum Opinion filed September 13, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00467-CV

____________

&nbsp;

DELCOR, USA, Appellant

&nbsp;

V.

&nbsp;

MID-SOUTH METALS HOUSTON LLC, Appellee

&nbsp;



&nbsp;

On Appeal from the 133rd District Court

Harris County, Texas

Trial Court Cause No. 2010-33651

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed February 21, 2011.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On July 6, 2011, notification was transmitted to all parties
of the court’s intention to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp; See Tex. R. App. P.
37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Anderson and Christopher.

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